  Case
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )        Case Number: 18-05656
Willie Ray Vaughn,                            )
                                              )             Chapter: 13
                                              )
                                              )                      Honorable Deborah L. Thorne
                                              )
               Debtor(s)                      )

                     AGREED REPAYMENT ORDER IN SETTLEMENT OF
                      MOTION FOR RELIEF FROM AUTOMATIC STAY

         This cause is before the court on the Motion for Relief from the Automatic Stay (“Motion”)
filed by U.S. Bank Trust National Association, not in its individual capacity but solely as owner trustee
for RCF 2 Acquisition Trust c/o U.S. Bank Trust National Association (“Secured Creditor”). Secured
Creditor and Debtor, through their attorneys, agree as follows in settlement of the Motion:

  1. Secured Creditor holds a mortgage on Debtor’s residence located at 12422 S. Aberdeen Street,
Calumet Park, Illinois 60827.

  2. Secured Creditor filed a Motion for Relief from the Automatic Stay due to Debtors’ failure to pay
post-petition payments.

   3. As of February 4, 2022, the mortgage is delinquent and owing from July 1, 2021 to February 1,
2022, in the amount of $6,396.40, broken down as follows. Secured Creditor has also incurred attorney
fees and costs as a result of the Motion, in the amount of $1,038.00. The total delinquency to be cured is
therefore $7,434.40.

   Six (6) missed mortgage payments at $791.78/month         $4,750.68
   Two (2) missed mortgage payments at $894.00/month         $1,788.00
   Suspense Balance                                          ($142.28)
   Attorneys’ Fees & Costs                                    $1,038.00
   Total                                                      $7,434.40

  4. In addition to the Debtor(s)’ regular monthly mortgage payment, Debtor agrees to cure the post-
petition delinquency in the amount of $7,434.40 by tendering the following payments by the
corresponding dates:

   a. $826.04 on or before March 15, 2022;
b. $826.04 on or before April 15, 2022;
c. $826.04 on or before May 15, 2022;
d. $826.04 on or before June 15, 2022;
e. $826.04 on or before July 15, 2022;
f. $826.04 on or before August 15, 2022;
g. $826.04 on or before September 15, 2022;
h. $826.04 on or before October 15, 2022
i. $826.08 on or before November 15, 2022
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  The aforesaid payments shall be made payable to Selene Finance LP, 9990 Richmond Ave, Suite 400
South Houston, TX 77042 and received in the form of money orders, cashiers’ checks, or ACH
payments.

   5. If Debtor(s) fails to comply with Paragraph 4, the failure will be considered default under this
Agreed Order, and if Debtor(s) fails to cure the default within fourteen (14) calendar days after Secured
Creditor mails a Notice of Default to Debtor and their attorney, the stay shall be automatically
terminated as to Secured Creditor, its principals, agents, successors and/or assigns as to the property
securing its interest, upon filing a Notice of Lifting with the Clerk of the Court.

   6. If Debtor brings the loan post-petition current within that 14-day period, proof of cure must be
received by Secured Creditor’s attorneys, at 205 N. Michigan Avenue, Suite 810, Chicago, IL 60601
within fourteen (14) days from the date the Notice of Default was sent.

  Agreed upon by:

   /s/ __Samantha C. San Jose______                    /s/ __Jennifer Ann McLaughlin_______
Creditor’s Counsel                                  Debtor’s Counsel
Samantha C. San Jose, Esq.                          Jennifer Ann McLaughlin, Esq.

                                                          Enter:


                                                                   Honorable Deborah L. Thorne
Dated: February 22, 2022                                           United States Bankruptcy Judge

Prepared by:
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